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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE EASTERN DISTRICT OF VIRGINIA
                                    ALEXANDRIA DIVISION

IN RE:                                                            )      CHAPTER 7
                                                                  )    CASE NO. 19-12996
LEONARDO ENRIQUE MUNOZ,                                           )
                                                                  )
                   Debtor(s).                                     )
----------------------------------------------------------------- )
                                                                  )
AMERICAN HONDA FINANCE CORPORATION,)
c/o Steven L. Higgs, P.C.                                         )
Steven L. Higgs, Esq.                                             )
9 Franklin Road, S.W.                                             )
Roanoke, Virginia 24011-2403                                      )
                                                                  )
                   Movant,                                        )
                                                                  )
v.                                                                )
                                                                  )   Motion No. __________
LEONARDO ENRIQUE MUNOZ,                                           )
and                                                               )
DONALD F. KING, Trustee,                                          )
                                                                  )
                   Respondents.                                   )

IN COMPLIANCE WITH LOCAL RULE 4001(A)-1, YOU ARE HEREBY ADVISED THAT
PARTIES SERVED WITH THIS MOTION HAVE FOURTEEN (14) DAYS FROM THE
DATE OF SERVICE OF THIS MOTION IN WHICH TO FILE WITH THE COURT A
WRITTEN RESPONSE WITH A COPY OF SAID RESPONSE TO BE SERVED ON
PLAINTIFF’S ATTORNEY.

                                 MOTION FOR RELIEF FROM STAY

TO THE HONORABLE KLINETTE H. KINDRED:

         American Honda Finance Corporation ("Movant"), by counsel, respectfully moves that

the automatic stay provisions of 11 U.S.C. §362 be terminated, or alternatively, that said stay be

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modified, and for its reasons states as follows:

                                          JURISDICTION

       1.       On September 9, 2019, Debtor(s) filed in the United States Bankruptcy Court for

the Eastern District of Virginia, Alexandria Division, a petition for relief under Chapter 7, Title

11, United States Code, Case No. 19-12996 ("Petition").

       2.       This is a motion pursuant to Bankruptcy Rules 4001 and 9014 and 11 U.S.C.

§362(d) seeking relief from the automatic stay of 11 U.S.C. §362(a).

       3.       The Court possesses subject matter jurisdiction over this proceeding pursuant to 28

U.S.C. §157 and 28 U.S.C. §1334.

       4.       This is a core proceeding.

                                       CLAIM FOR RELIEF

       5.       Movant is the holder of a secured claim against the Debtor(s) in the actual amount

of $40,485.79, plus interest at the rate of 7.35% per annum, attorney's fees and costs, as

evidenced by a Retail Installment Sale Contract dated September 9, 2017, a copy of which is

filed herewith ("Contract").

       6.       In exchange for the loan of money from Movant, the Debtor(s) granted a security

interest in a 2017 Honda CR-V, Vehicle Identification No. 2HKRW6H30HH219174

("Property").

       7.       Movant perfected its security interest in the Property by the recordation of a lien

on Virginia Certificate of Title No. 1000521201, a copy of which is filed herewith.

       8.       Upon information and belief, the Debtor(s) have no equity in the Property.
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Movant respectfully moves this Court pursuant to the provisions of Va. Code Ann. § 8.01-

419.1 and Rule 201 of the Federal Rules of Evidence to take judicial notice of the NADA

“Gold Book” retail value, which is $19,425.00.

        9.      Upon information and belief, there is a lack of adequate protection of the Movant's

interest in the Property, in that:

                (a)     the Debtor(s) are not in a financial position to cure the delinquency that has

accumulated on the obligation to Movant and amortize the loan according to the Contract [the

account is delinquent for the period from June 24, 2019 to August 24, 2019 in the amount of

$1,551.40 (including $69.62 in late fees and NSF fees)];

                (b)     the Property was repossessed or voluntarily surrendered to Movant on

August 8, 2019; and

                (c)     the Debtor(s) have not offered Movant other adequate protection for the

Movant's interest in the Property.

        10.     The Property is not necessary for a successful reorganization of the Debtor(s).

        11.     Upon information and belief, the Property is burdensome to the estate, and is of

inconsequential value and benefit to the estate.

        WHEREFORE, Movant, by counsel, respectfully requests that the automatic stay

provisions of 11 U.S.C. §362 be terminated and that it be granted relief from the stay, or in the

alternative that such stay be modified and conditioned upon the provision of adequate protection to

the Movant; that the Property be abandoned from the bankruptcy estate pursuant to the provisions

of 11 U.S.C. §554(b); and for such other and further relief which as to equity may seem just.
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                                    Respectfully submitted,

                                    American Honda Finance Corporation

                                    By_/s/ Steven L. Higgs__________________
                                                      Of Counsel



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                                    NOTICE

   YOUR RIGHTS MAY BE AFFECTED. YOU SHOULD READ THESE PAPERS
CAREFULLY AND DISCUSS THEM WITH YOUR ATTORNEY, IF YOU HAVE ONE
IN THIS BANKRUPTCY CASE. (IF YOU DO NOT HAVE AN ATTORNEY, YOU MAY
WISH TO CONSULT ONE.)

      IF YOU DO NOT WISH THE COURT TO GRANT THE RELIEF SOUGHT IN THE
MOTION, OR IF YOU WANT THE COURT TO CONSIDER YOUR VIEWS ON THE
MOTION, THEN WITHIN FOURTEEN (14) DAYS FROM THE DATE OF SERVICE OF
THIS MOTION, YOU MUST FILE A WRITTEN RESPONSE EXPLAINING YOUR
POSITION WITH THE COURT AT THE FOLLOWING ADDRESS: CLERK OF COURT,
UNITED STATES BANKRUPTCY COURT, 200 SOUTH WASHINGTON STREET,
ALEXANDRIA, VA 22314, AND SERVE A COPY ON THE MOVANT’S ATTORNEY AT
THE ADDRESS SHOWN BELOW. UNLESS A WRITTEN RESPONSE IS FILED AND
SERVED WITHIN THIS FOURTEEN DAY PERIOD, THE COURT MAY DEEM
OPPOSITION WAIVED, THREAT THE MOTION AS CONCEDED, AND ISSUE AN
ORDER GRANTING THE REQUESTED RELIEF.

     IF YOU MAIL YOUR RESPONSE TO THE COURT FOR FILING, YOU MUST
MAIL IT EARLY ENOUGH SO THAT THE COURT WILL RECEIVE IT ON OR BEFORE
THE EXPIRATION OF THE FOURTEEN-DAY PERIOD.

     ATTEND THE PRELIMINARY HEARING SCHEDULED TO BE HELD ON
NOVEMBER 13, 2019 AT 9:30 A.M., IN COURTROOM III, UNITED STATES
BANKRUPTCY COURT, 200 SOUTH WASHINGTON STREET, ALEXANDRIA,
VIRGINIA.




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                                      CERTIFICATE OF MAILING

The undersigned does hereby certify that a true and correct copy of the foregoing was mailed by
first class mail, postage prepaid, or served electronically on September 17, 2019, to:

Ashvin Pandurangi, Esq.
AP Law Group, PLC
7777 Leesburg Pike
Suite 402N
Falls Church, VA 22043
            Counsel for Leonardo Enrique Munoz

Leonardo Enrique Munoz (with enclosures\N)
1657 N. Shore Dr., Apt. 21
Reston, Virginia 20190

Donald F. King, Trustee
9320 Lee Highway, Suite 1100
Fairfax, Virginia 22031



                                                    ___/s/ Steven L. Higgs_________________


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Our File No. 11117.609\\FILES\11117.609\MRS – Motion – Real Estate\09/17/19




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